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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI

TRUSTEES OF BOSTON COLLEGE,          )
                                     )
              Plaintiff,             )
                                     )
v.                                   )     Case No.: 4:24-cv-1523
                                     )
 URSHAN UNIVERSITY, INC.,            )
                                     )
              Defendant.             )
                                     )
 ______________________________________________________________________________

UNITED PENTECOSTAL CHURCH                     )
DEVELOPMENT FUND, INC.                        )
                                              )
               Third-Party Plaintiff,         )
                                              )
v.                                            )
                                              )
TRUSTEES OF BOSTON COLLEGE,                   )
and URSHAN UNIVERSITY, INC.,                  )
                                              )
               Third-Party Defendants.        )
                                              )

                                THIRD-PARTY COMPLAINT

       Third-Party Plaintiff/Intervenor United Pentecostal Church Development Fund, Inc. (the

“Fund”), by and through their undersigned counsel, asserts its claims against Third-Party

Defendants Trustees of Boston College and Urshan University as follows:

                                        INTRODUCTION

       1.      Pursuant to 28 U.S.C. §§ 2201-2202 et seq., the Fund brings claims against Third-

Party Defendants Boston College (“BC”) and Urshan University (“Urshan”) for declaratory relief

requesting an adjudication and ruling from this Court that the Fund holds a superior interest in the

certain stained glass windows that are the subject of BC’s underlying claim (“Windows”) that



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constitute improvements/fixtures of real property owned by Urshan in northern St. Louis County,

Missouri (“Property”) over any alleged interest (if any) possessed by BC pursuant to its

unenforceable “gift agreement” with Urshan for the Property’s Windows. Further, the Fund brings

an additional claims against BC for tortiously interfering with the Fund’s business expectancies or

contractual relations with Urshan and for equitable cancellation of any instrument that BC alleges

affects title to the Windows.

                          PARTIES, JURISDICTION AND VENUE

       2.      The Fund is a Missouri non-profit corporation with its principal place of business

in Weldon Springs, Missouri.

       3.      BC is a Massachusetts non-profit corporation with its principal place of business in

Massachusetts.

       4.      Urshan is a Missouri non-profit corporation with its principal place of business in

Missouri.

       5.      This Court has subject matter jurisdiction over the Fund’s claims (Counts I, II, and

III) against BC under 28 U.S.C. § 1332, and the Court should take supplemental jurisdiction over

the Fund’s claim against Urshan (Count I) under 28 U.S.C. § 1367.

       6.      Venue is appropriate in this District because Urshan resides here and because a

substantial part of the events and omissions giving rise to the claim occurred here and the property

at issue (Windows) is situated in this District. 28 U.S.C. § 1391(b)(1)-(2).

                                  FACTUAL ALLEGATIONS

       7.      Urshan owns the Property, which consists of the real property located at 700

Howdershell Road in Florissant, Missouri as well as the improvements and fixtures the Property

contains, including the Windows.



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       8.      On December 8, 2015, Urshan executed two deeds of trust for the Property with the

Fund as beneficiary for lending of $2,330,000.00 and $670,000.00, respectively, to Urshan

(collectively, the “Deeds of Trust,” including modification and amendments thereto). The Deeds

of Trust were duly recorded with the Recorder of Deeds for St. Louis County, Missouri, in Book

21800, Page 2806 and Book 21800, Page 2837 on December 11, 2015. See Deeds of Trust attached

thereto as Exhibit 1 and incorporated by reference.

       9.      The Deeds of Trust each grants the Fund a security interest in the Windows because

they include all “Mortgaged Property,” which is a term defined by the Deeds of Trust to include

“(1) the Land; (2) Improvements; (3) Fixtures; (4) Personality;” etc. Id. (Ex. 1), at pp. 3, 2

(subsection D(1)(y), (q), (k)).

       10.     The Fund has a first priority interest in the Property because there are no prior deeds

of trusts or other security filings affecting the Property/Windows.

       11.     The Fund, as the “Lender” as the term is used in the Deed of Trust, has the authority

to seek enforcement of the rights conferred on it by the Deed of Trust. Id. (Ex. 1), at pp. 6, 3, 1

(subsection D(3)(d), (D)(1)(v), A).

       12.     In this lawsuit, BC alleges that it has entered into a purported “gift agreement” with

Urshan in which Urshan was to donate Windows to it. See, e.g., Compl. (Doc. 1), at ¶ 1; see also

Ex. A (Ltr.) (Doc. 1-1), at 1-2 and Ex. B (Bill of Transfer) (incorporated herein by reference).

       13.     The Windows were never delivered to BC. In fact, the Windows remain where

they have been for decades, which is installed as part of a structure on Urshan’s Property.

       14.     BC alleges that the uncompleted gift of Windows gave rise to contractual

obligations that Urshan purportedly breached when it refused to facilitate delivery of the gifted

Windows to BC. See, e.g., Compl. (Doc. 1), at Count I (¶¶ 40-48).



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       15.     BC does not seek damages from Urshan but only specific performance of delivery

of the Windows.

       16.     BC has also filed a motion for preliminary injunction seeking to remove the

Windows from the Property, and such preliminary relief would irreparably harm the Fund and be

fundamentally unfair because such injunctive relief would be an end run around a trial and

constitute premature and unjustified specific performance of a contract that has not been proven

and the existence of which remains a subject for discovery in this lawsuit. See Motion for

Preliminary Injunction (Doc. 12), Dec. 17, 2024.

       17.     The removal of the Windows would materially impair the Fund’s interest and

violate the Fund’s rights by unfairly reducing the value of its security interest.

        18.     The Windows are structural components attached to and integrated into the

Property, and thus constitute “fixtures” or “improvements,” as those terms are defined in the Deeds

of Trust.

        19.     All parties to this lawsuit either knew (or should have known) of the Fund’s interest

in the Windows.

                          COUNT I – DECLARATORY JUDGMENT
                                     28 U.S.C. §2201

       20.     The Fund incorporates by reference the allegations contained in paragraphs 1

through 19 as if fully set forth herein.

       21.     The Declaratory Judgment Act, 28 U.S.C. §2201, provides that “[i]n a case of actual

controversy within its jurisdiction . . . any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any interested party

seeking such declaration, whether or not further relief is or could be sought. Any such declaration

shall have the force and effect of a final judgment or decree and shall be reviewable as such.”


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       22.        There is a real, actual, justiciable controversy between the parties over their

respective rights in the Windows because the Fund, as the current holder of the Deeds of Trust,

has a present legally protected security interest which is impaired by BC’s ongoing and immediate

efforts to remove the Windows from the Property, including BC’s fully-briefed and pending

motion for preliminary injunction.

       23.        The Fund seeks a declaration from the Court that:

             a.       BC has no enforceable interest in the Windows because this is a donation that

                      was not completed;

             b.       The Fund has a present and immediate interest in the Windows under the

                      Deeds of Trust;

             c.       The Fund’s interest in the Windows has priority over the interests of BC (if

                      any);

             d.       Any purported interest of BC in the Windows is subordinate and subject to the

                      Fund’s secured interest;

             e.       Urshan and BC are prohibited from taking any action to remove, donate,

                      transfer, or sell the Windows without the Fund’s consent; and

             f.       In the alternative in which the Court affords the relief sought by BC, it be

                      ordered that BC takes the Windows subject to the Fund’s lien/security interest

                      consistent with the Uniform Commercial Code (MO. REV. STAT. §§ 400.9-315,

                      9-201) and that a bond be posted to secure the cost of returning and reinstalling

                      the Windows into the Property in the event of Urshan’s default on its

                      obligations to the Fund.

       WHEREFORE, the Fund respectfully requests that this Court enter a declaratory judgment



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as specified in Paragraph 23 of Count I in favor of the Fund and against BC and Urshan, award the

Fund its costs, attorneys’ fees, and any further relief deemed just and proper by this Court.

              COUNT II – TORTIOUS INTERFERENCE WITH CONTRACT
                              (Against Boston College)

       24.        The Fund incorporates by reference the allegations contained in paragraphs 1

through 23 as if fully set forth herein.

       25.        The Fund had a valid contract interest to maintain the security interest it has in the

Windows as provided by the Deeds of Trust granted by Urshan.

       26.        BC knew, actually or constructively, of this interest held by the Fund that was

afforded to it by Urshan.

       27.        BC intentionally interfered with the Fund’s contractual rights and interest when BC

induced Urshan to impair and degrade the Fund’s rights to Windows as provided by the Deeds of

Trust through the alleged obligation to gift or otherwise provide the Windows to BC.

       28.        Additionally, BC intended to interfere with the Fund’s contractual rights and

interest in the Windows by purposefully excluding the Fund from its lawsuit and then attempting

to obtain immediate specific performance by seeking a preliminary injunction without affording

any notice to the Fund, despite BC’s awareness of the Fund’s interest in the Windows.

       29.        There was no justification for this interference by BC with the Fund’s interest in

the Windows sufficient to subordinate the Fund’s prior interest to any purported subsequent

interest of BC.

       30.        The Fund has been damaged by BC’s interference with the Fund’s interest in the

Windows, including by BC’s aggressive and fully-briefed efforts to remove the Windows from the

Property via preliminary injunction that unfairly and substantially impairs the Fund’s interest in

the Windows, and such damages include the legal cost of having to seek intervention in this lawsuit


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and otherwise assert its rights.

       WHEREFORE, the Fund respectfully requests that this Court enter judgment against

Plaintiff/Third-Party Defendant Boston College for tortious interference, and any further relief

deemed just and proper by this Court.

              COUNT III – EQUITABLE CANCELLATION OF INSTRUMENT
                               (Against Boston College)

       31.     The Fund incorporates by reference the allegations contained in paragraphs 1

through 30 as if fully set forth herein.

       32.     The Fund had a valid business relationship or expectancy interest to maintain the

security interest it has in the Windows as provided by the Deeds of Trust obtained from Urshan.

        33.     Should it be determined that BC has enforceable rights under the “gift agreement,”

or “Agreement,” as that term is used in the Complaint (or Bill of Transfer), in the Windows, BC

will obtain an interest in the Windows that violates the Fund’s rights.

        34.     As alleged in the Complaint, BC claims that the Agreement––attached to the

Complaint as Exhibit A (see also Bill of Transfer, attached to the Complaint as Exhibit B)––gives

it an interest in the Windows that requires their immediate removal from the Property.

        35.     This so-called Agreement purports to represent that Urshan “owns all right, title

and interest in the Chapel [Windows], free and clear of liens, mortgages or claims, and has full

power and authority to make this gift and transfer ownership of the [W]indows to Boston College”

when Urshan did not because of the Fund’s preexisting interest and rights. Ex. A to Complaint

(Doc. 1-1), at 1.

        36.     Urshan did not have capacity to make this representation. It is not only incorrect

(because of the Fund’s preexisting interest and rights), but it is also unauthorized because the

officer who signed the letter (Urshan’s former CFO, Mr. Buchanan) did not have authority from


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Urshan to make such representation in facilitating the eventual donation of the Windows.

       37.     Alternatively, this representation was made by mistake, and BC knew of that

mistake because it was aware (actually or constructively) of the Fund’s interest in the Windows

because such interest was duly recorded.

       38.     Any interest that BC has in the Windows should be cancelled because it arises

through BC’s tortious interference (as set forth in Count II) and/or through representations or

provisions of the Agreement that purport to confer an interest to BC that is free of the Fund’s

rights, title and interest in the Windows, which, if enforceable, was a conferral that Urshan’s officer

was incapable of making because it was unauthorized and/or was induced by a mistake that BC

recognized (actually or constructively) due to the recording of the Fund’s interest in the Windows.

       39.     Urshan came to realize the Fund’s interest here prevented it from completing any

donation of the Windows to BC, and to redress its incapacity and/or mistake to complete the

donation, Urshan terminated the donation.

       WHEREFORE, the Fund respectfully requests that this Court cancel any purported

Agreement (including Exhibits A and B attached to BC’s Complaint) if deemed to include any

enforceable rights of BC in the Windows on the basis of BC’s tortious interference or Urshan’s

incapacity or mistake in attempting to donate the Windows free and clear of the Fund’s interest,

and any further relief deemed just and proper by this Court.




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                                    Respectfully submitted,

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                              CERTIFICATE OF SERVICE


        I hereby certify that on February 5, 2025, the foregoing was filed electronically as a
proposed pleading with the Court’s CM/ECF system which affords service to all attorneys of
record.




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